
















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD-0993-12
				





RICHARD COX, Appellant



v.



THE STATE OF TEXAS





ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW


FROM THE FIFTH COURT OF APPEALS


DALLAS COUNTY





		Per curiam.  Keasler and Hervey, JJ., dissent.


ORDER 



		The petition for discretionary review violates Rules of Appellate Procedure
9.3(b) &amp; 68.4(i) because the original petition is not accompanied by 11 copies and does not
contain a complete copy of the opinion of the court of appeals.

		The petition is struck.  See Rule of Appellate Procedure 68.6.

		The petitioner may redraw the petition.  The redrawn petition and copies must
be filed in the Court of Criminal Appeals within thirty days after the date of this order.

			

Filed November 7, 2012

Do not publish

	


